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A O 2 4 5 D -CA ED (Rev . 9 / 0 1 ) Sh eet 1 - J u d g m en t in a Crim in al Case f o r Rev o c at io n




                                               United States District Court
                                                         Eastern District of California

             UNITED STATES OF AMERICA                                                                   JUDGMENT IN A CRIMINAL CASE
                         v.                                                                             (For Revocation of Probation or Supervised Release)
                                                                                                        (For Offenses committed on or after November 1, 1987)
                 ROBERT HERNANDEZ
                            (Defendant’ s Name)                                                         Criminal Number: 1:98CR05250-005


                                                                                                        Joan Levie
                                                                                                        D ef endant ’ s A t t orn ey


THE DEFENDANT:
[U] admit t ed guilt t o violat ion of charge(s) One, Tw o and Three as alleged in t he violat ion pet it ion filed on July
    23, 2007 .
[]  w as f ound in violat ion of condit ion(s) of supervision as t o charge(s)  af t er denial of guilt , as alleged in t he
    violat ion pet it ion filed on .
ACCORDINGLY, t he court has adjudicat ed t hat t he def endant is guilt y of t he f ollow ing violat ion(s):
V iolation N um ber                             N ature of V iolation                                                            D ate V iolation Occurred
On e                                            Failu re t o Fo llo w t h e In st ru c t io n s o f t h e Pro b at io n
                                                Of f ic er

Tw o                                            Irreg u lar Rest it u t io n Pay m en t s

T h ree                                         N ew Law V io lat io n s                                                         Feb ru ary 1 7 , 2 0 0 7


The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on                                               February 16,
1999 .

       The def endant is sent enced as provided in pages 2 t hrough 4 of t his judgment . The sent ence is imposed
pursuant t o t he Sent encing Ref orm Act of 1984.

[]          Charge(s)               is/are dismissed.


            Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

       IT IS FURTHER ORDERED t hat t he def endant shall not if y t he Unit ed St at es At t orney f or t his dist rict w it hin
30 days of any change of name, residence, or mailing address unt il all f ines, rest it ut ion, cost s, and special
assessment s imposed by t his judgment are f ully paid.

                                                                                                                            January 22, 2008
                                                                                                                     Dat e of Imposit ion of Sentence


                                                                                                                            /s/ ANTHONY W. ISHII
                                                                                                                          Signat ure of Judicial Of f icer


                                                                                                     ANTHONY W. ISHII, Unit ed St at es Dist rict Judge
                                                                                                           Name & Tit le of Judicial Of f icer


                                                                                                                               January 28, 2008
                                                                                                                                     Dat e
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A O 2 4 5 B-CA ED (Rev . 3 / 0 4 ) Sh eet 2 - Im p riso n m en t

CASE NUMBER:                       1:98CR05250-005                                                                           Judgment - Page 2 of 4
DEFENDANT:                         ROBERT HERNANDEZ


                                                                     IM PRISONM ENT
          The def endant is hereby commit t ed t o t he cust ody of t he Unit ed St at es Bureau of Prisons t o be imprisoned
f or a t ot al t erm of 3 mont hs .




[]         The court makes t he f ollow ing recommendat ions t o t he Bureau of Prisons:



[]         The def endant is remanded t o t he cust ody of t he Unit ed St at es Marshal.


[]         The def endant shall surrender t o the Unit ed St at es Marshal f or t his dist rict .
           [ ] at        on     .
           [ ] as not if ied by t he Unit ed St at es Marshal.


[x ]       The def endant shall surrender f or service of sent ence at t he inst it ut ion designat ed by t he Bureau of
           Prisons:
           [x ] bef ore 2:00 p.m. on February 19, 2008 .
           [ ] as not if ied by t he Unit ed St at es Marshal.
           [ ] as not if ied by t he Probat ion or Pret rial Services Of f icer.
           If no such inst it ution has been designat ed, t o the Unit ed St at es Marshal f or t his dist rict .

                                                                           RETURN
I have executed this judgment as follow s:




           Defendant delivered on                                                       to


at                                                                 , w ith a certified copy of this judgment.




                                                                                                                UNITED STATES MARSHAL



                                                                                             By
                                                                                                                  Deputy U.S. Marshal
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A O 2 4 5 B-CA ED (Rev . 3 / 0 4 ) Sheet 3 - Superv ised Release

CASE NUMBER:                    1:98CR05250-005                                                                       Judgment - Page 3 of 4
DEFENDANT:                      ROBERT HERNANDEZ


                                                          SUPERV ISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of 24 months .


The defendant must report to the probation office in the district to w hich the defendant is released w ithin 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlaw fully possess a controlled substance. The defendant shall refrain from any unlaw ful use of
controlled substance. The defendant shall submit to one drug test w ithin 15 days of release from imprisonment and at least
tw o periodic drug tests thereafter, not to exceed four (4) drug tests per month.

[ ]       The above drug testing condition is suspended based on the court ' s determination that the defendant poses a low risk
          of future substance abuse. (Check, if applicable.)

[U]       The defendant shall not possess a firearm, destructive device, or any other dangerous w eapon. (Check, if applicable.)

[ U]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[ ]       The defendant shall register and comply w ith the requirements in the federal and state sex offender registration
          agency in the jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction w here the
          defendant resides, is employed, or is a student. (Check, if applicable.)

[ ]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitut ion obligation, it is a condition of supervised release that the defendant pay in
accordance w ith the Schedule of Payments sheet of this judgment.

The defendant must comply w ith the standard conditions that have been adopted by this court as w ell as w ith any additional
conditions on the attached page.


                                     STANDARD CONDITIONS OF SUPERV ISION
1)     the defendant shall not leave the judicial district w ithout permission of the court or probation of ficer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete w ritten report w ithin the first
       five days of each month;
3)     the defendant shall answ er truthf ully all inquiries by the probation of ficer and follow instructions of the probation of ficer;
4)     the defendant shall support his or her dependants and meet other family responsibilities;
5)     the defendant shall w ork regularly at a law ful occupation unless excused by the probation officer for schooling, training
       or other acceptable reasons;
6)     the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol;
8)     the defendant shall not frequent places w here controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate w ith any persons engaged in criminal activity, and shall not associate w ith any person
       convicted of a felony unless grant ed permission to do so by the probation of ficer;
10)    the defendant shall permit a probation of ficer to visit him or her at any time at home or elsew here, and shall permit
       confiscation of any cont raband observed in plain view by the probation of ficer;
11)    the defendant shall notify the probation officer w ithin seventy-tw o hours of being arrested or questioned by a law
       enf orcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
       w it hout the permission of the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
       defendant' s criminal record or personal history or characteristics, and shall permit the probation officer to make such
       notifications and to confirm the defendant' s compliance w ith such notification requirement.
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A O 2 4 5 B-CA ED (Rev . 3 / 0 4 ) Sheet 3 - Superv ised Release

CASE NUMBER:                    1:98CR05250-005                                                         Judgment - Page 4 of 4
DEFENDANT:                      ROBERT HERNANDEZ


                                        SPECIAL CONDITIONS OF SUPERV ISION

          1.     The defendant shall submit to the search of his person, property, home, and vehicle by a
                 United States Probation Officer, or any other authorized person under the immediate and
                 personal supervision of the probation officer, based upon reasonable suspicion, without a
                 search warrant. Failure to submit to a search may be grounds for revocation. The defendant
                 shall warn any other residents that the premises may be subject to searches pursuant to this
                 condition.

          2.     The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or
                 restitution order by this judgment is paid in full, unless the defendant obtains approval of the
                 court.

          3.     The defendant shall provide the probation officer with access to any requested financial
                 information.

          4.     The defendant shall not incur new credit charges or open additional lines of credit without the
                 approval of the probation officer.

          5.     As directed by the probation officer, the defendant shall participate in a correctional treatment
                 program (inpatient or outpatient) to obtain assistance for drug or alcohol abuse.

          6.     As directed by the probation officer, the defendant shall participate in a program of testing
                 (i.e. breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or
                 alcohol.

          7.     The defendant shall abstain from the use of alcoholic beverages and shall not frequent those
                 places where alcohol is the chief item of sale.

          8.     The defendant shall reside and participate in a residential community corrections center,
                 Comprehensive Sanction Center for a period of 90 days; said placement shall commence as
                 directed by the United States Probation Officer pursuant to 18 USC 3563(b) (11). The
                 defendant shall pay cost of confinement as determined by the Bureau of Prisons.

          9.     As directed by the probation officer, the defendant shall participate in a co-payment plan for
                 treatment or testing and shall make payment directly to the vendor under contract with the
                 United States Probation Office of up to $25 per month.
